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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         MCALLEN DIVISION

IN RE:                                                                        CHAPTER 13 PROCEEDING:
ARTURO DIAZ JR                                                                17-70283-M-13
DEBTOR


                TRUSTEE'S MOTION TO PAY FUNDS INTO THE COURT REGISTRY

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

    COMES NOW, CINDY BOUDLOCHE, Chapter 13 Trustee in the above referenced Chapter 13 proceeding
and files this Trustee's Motion to Pay Funds into the Court Registry and would respectfully show the Court the
following:

   1. Debtor filed a petition for relief under the provisions of Chapter 13 of Title 11 of the United States Code
on Monday, Jul 31, 2017.

     2. This Honorable Court has jurisdiction over this motion pursuant to the provisions contained in 28 U .S.C.
Section 1334. This is a core proceeding pursuant to the definition contained in 28 U .S.C. Section 157. Venue is
in this Honorable Court pursuant to 28 U.S.C. Section 1408.

    3. Trustee has standing to file this motion pursuant to 11 U.S.C. Section 347(a).

    4. Funds are owed to the creditors listed below:

       LOS PINOS HOMEBUILDERS LLC                      No Proof of Claim has been filed.              $10,542.30
       203 N ALAMO ST
       ALTON, TX 78573

    5. As a result, funds owed to the creditor in the amount of $10,542.30 by the above referenced Debtor
should be reserved by the Registry of the Court.

WHEREFORE, PREMISES CONSIDERED, the Chapter 13 Trustee prays this Honorable Court will grant the
Trustee's Motion to Pay Funds into the Court Registry.

Respectfully Submitted: Thu, February 7, 2019


                                                                Cindy Boudloche
                                                                Chapter 13 Trustee
                                                                555 N. Carancahua Ste 600
                                                                Corpus Christi, TX 78401-0823
                                                                (361) 883-5786




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                              UNITED STATES BANKRUPTCY COURT
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IN RE:                                                               CHAPTER 13 PROCEEDING:
ARTURO DIAZ JR                                                       17-70283-M-13

DEBTOR
                                      CERTIFICATE OF SERVICE

     I, Cindy Boudloche, do hereby certify that on February 07, 2019, a copy of the foregoing Trustee's
Motion to Pay Funds into the Court Registry was served electronically or by United States Mail to the parties
listed below:



                                                         Cindy Boudloche ,Chapter 13 Trustee



  ARTURO DIAZ JR                                          MARCOS D OLIVA PC (M)
  521 E ACACIA                                            223 W NOLANA
  ALAMO, TX 78516                                         MCALLEN, TX 78504


  LOS PINOS HOMEBUILDERS LLC
  203 N ALAMO ST
  ALTON, TX 78573
